LEAVE TO FILE GRANTED

United States Court of Appeals, District of Columbia Circuit

)
United States of America ) 1:21-cr-006238 (CRC)
)
v. )
) Emergency Motion to Stay
Kirstyn-Ashley Niemela )
)
Motion

I, Kirstyn-Ashley Niemela, by and through exercise of right, respectfully move for
an emergency order to stay the trial Court’s sentencing order, pending results of my
appeal. I was ordered to surrender the week of July 24, 2023 for 11-months of
incarceration. Alternatively, I request a new sentence be issued according to the
guidelines, for reasons herein.
Statement of Facts

1. After a jury trial, I was found guilty of four misdemeanors: 18 U.S.C. §
1752(a)(1) (entering and remaining in a restricted building or grounds); 18 U.S.C. §
1752(a)(2) (disorderly and disruptive conduct in a restricted building or grounds); 40
U.S.C. § 5104(e)(2)(D) (disorderly conduct in a Capitol building); and 40 U.S.C. §
5104 (e)(2)(G) (parading, demonstrating, or picketing in a Capitol building). ECF

No. 155 at p. 3.

2. The counts involving 18 U.S.C. § 1752 are Class A misdemeanors. The
other counts are Class B misdemeanors. Convictions under 18 U.S.C. § 1752 are
subject to either USSG § 2A2.4 or USSG § 2B2.3. USSG App. A. Section 2A2.4

applies to obstructing or impeding officers and its base offense level is 10. USSG §

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2A2.4. Section 2B2.8 applies to trespassing and its base offense level is 4, with a 2
level increase if the trespass occurs “at any restricted building or grounds.” USSG §
2B2.3.

3. The presentence investigation report (“PSR”), which was disclosed to
my counsel on April 26, 2023, concluded that “[b]ased upon a total offense level of 10
and a criminal history category of I, the guideline imprisonment range is six months
to 12 months.” PSR at § 92. It reasoned that “the most analogous offense guideline”
to 18 U.S.C. § 1752(a)(1) was USSG § 2B2.3. Id. at § 47. It also concluded that “the
most analogous offense guideline” to 18 U.S.C. § 1752(a)(2) was USSG § 2A2.4. Id.
at {| 48.

A. The PSR failed the most basic requirements; even by the Government’s
concessions it did “not include a separate Guidelines analysis for both of the § 1752
offenses of which Niemela was convicted” and did “not set forth the Guidelines
calculation separated for each count as required under U.S.S.G. § 1B1.1(a)(4).” ECF
No. 122 at p. 17-18.

5. Prior counsel who represented me at sentencing filed their “Amended
Sentencing Memorandum” on May 24, 2023. This memorandum did not object to the
findings or conclusions of the PSR. See ECF No. 121. Prior counsel took the position
that “the Court’s sentencing decision and evaluation is not governed by the US
Sentencing Guidelines.” ECF No. 121 at p. 11. It did so despite Appendix A to the
Statutory Index, which provides that convictions under 18 U.S.C. § 1752 are subject

to USSG § 2A2.4 or USSG § 2B2.3.

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6. Sentencing took place on June 8, 2023. That morning, my prior counsel
submitted “Defendant Niemela’s Final Supplement to her Sentencing
Memorandum.” ECF No. 140.

7. At sentencing, the Court observed that my prior counsel failed to object
“to the draft presentence report” and did not object “to the base offense level in the
initial sentencing memos.”! The Court noted that only in prior counsel’s latest
supplement to their sentencing memorandum, filed the morning of sentencing,
“noted an objection.”? The Court further stated: “The morning of sentencing is not
the time to raise objections to offense levels or guidelines calculations, so I believe
you've waived that.”8

8. However, the Court stated it had “an independent obligation to ensure
that the guidelines calculation is correct” and offered an opportunity for my prior
counsel “to be heard briefly on your objection to the Base Offense Level 10 or any
other aspect of the calculation.”4 My counselor, Mr. Roots, argued that the
obstruction guideline did not apply because there was “no evidence of opposing or
resisting — no contact with officers. No yelling at officers. No threatening officers.”5
He further argued: “For Class A misdemeanors, the U.S. Sentencing Guidelines...

is six points.’® Counsel for the Government responded that Appendix A lists

1 Sentencing Hearing Transcript, June 8, 2023, page 15 at 19-22.
2 page 15 at 17-24.

3 Id. at page 15 at 22-24.

4 Id. at page 15-16 at 25-4.

5 Id. at page 17 at 16-19.

6 Id. at page 16 at 23-25.

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applicable guidelines’ and that “Mr. Roots is sort of wrong as a basic matter of
reading comprehension.”®

2. The Court issued its ruling at the sentencing hearing, selecting USSG
§ 2A2.4 and explaining its reasoning, which was supported by video evidence

presented by the Government at trial:

Okay. Again, the Court sat through the trial. Particularly the video
evidence that the government displayed numerous times is consistent
with the characterization that she, perhaps not at the very front of the
line, was part of a group that breached three different police lines and
supports the application of the probation office's chosen guideline at
2A2.4. The Court, therefore, finds that the probation office has correctly

calculated the range, which is Level 10 at Criminal History Category 1,
at 6 to 12 months.9

10. The objection of Mr. Roots was “noted for the record.” !° I was “committed
to the custody of the Bureau of Prisons for concurrent terms of 11 months on Counts
3 and 4, and six months on Counts 6 and 8.”1!! Mr. Roots moved to “stay the
imprisonment pending the outcome of her appeal.” !2 That request was denied.!3

11. Sentencing counsel filed, on June 15, 2023, a motion for

reconsideration, moving “for reconsideration of Niemela’s oral motion for stay of

7 Id. at page 18 at 14-17.
8 Id. at page 18 at 6-7.

° page 21 at 8-17.

'9 Td. at page 21 at 20-21.
'l Td. at page 88 at 16-19.
'2 Td. at page 94 at 19-21,
'3 nage 95 at 6-7.

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Niemela’s sentence of incarceration pending the outcome [sic] of her appeal.” ECF

No. 144 at 1. They reasoned:

“Niemela was convicted after a jury trial of four victimless, nonviolent
riot presence-related misdemeanors, two of which are petty
misdemeanors. Yet she was sentenced to serve a total of eleven (11)
months in custody, pursuant to a guideline range that applies to felony
assaults (even skipping over a base offense level applicable to
misdemeanor assaults, which wouldn’t have applied in any case).
Plainly, Niemela has a high likelihood of success on appeal, and
qualifies for a stay of imprisonment under 18 U.S.C. § 31438(b)(1), as she
‘raises a substantial question of law or fact likely to result in’ a reduced
or probationary sentence.” ECF No. 144 at p. 2 (emphasis in original).
12. = Inits July 7, 2023 memorandum opinion and order, the trial
Court denied my motion for reconsideration. See ECF No. 155 at p. 1. It
rejected my former counsels’ argument that the base offense level of 10
applied to only felony assaults: “The Court rejected this argument at
sentencing and does so again here.” Jd. at p. 5. The Court stated that the
“guideline for obstructing or impeding officers, not the guideline for trespass,
is most appropriate for Niemela’s offense conduct.” Jd. at p. 5. In support, the
Court looked to evidence presented at trial, which “showed that Niemela and
her two companions spent approximately twenty minutes inside the Capitol
and helped to breach three separate police lines attempting to restrain the
mob, including one line of officers attempting to safeguard the House of
Representatives chamber.” /d.at p. 5. It concluded that “Niemela has not

raised a substantial question of law or fact for appeal regarding the

applicable base offense level for her § 1752(a)(2) conviction.” Id. at p. 6.

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13. I, Kirstyn-Ashley Niemela, now raise new arguments not raised
by prior ineffective counsel — or anyone else — concerning the proper selection
of a guideline and why USSG § 2B2.3, and not USSG § 2A2.4, was the
appropriate guideline. I move this Court for an order to stay in the interests
of justice and not for purposes of delay.

Argument & Authority
A. The Choice of Guidelines

14. Asstated above, a conviction under 18 U.S.C. § 1752 is subject
to either USSG § 2A2.4 or USSG § 2B2.3. USSG App. A. According to the
USSG Statutory Index: “If more than one guideline section is referenced for
the particular statute, use the guideline most appropriate for the offense
conduct charged in the count of which the defendant was convicted.” U.S.S.G.
App. A, Refs & Annos. Where the Statutory Index specifies more than one
offense guideline for a particular statute, “the court will determine which of
the referenced guideline sections is most appropriate for the offense conduct
charged in the count of which the defendant was convicted.” U.S.8.G. 1B1.2
cmt. n. 1.

15. The “natural reading” of those two “provisions is that, when
selecting the ‘most appropriate’ guideline, the sentencing court should look to
the conduct alleged in the indictment, and not to uncharged conduct
described in trial testimony.” United States v. Almeida, 710 F.3d 437, 441

(1st Cir. 20138). “[T]o the extent the court is required to look to the facts to

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select a guideline, the court is limited to the conduct charged in the
indictment.” United States v. McEnry, 659 F.3d 893, 899 (9th Cir. 2011). In
determining which guideline to apply, a court conducts “a comparison of the
charged misconduct as described on the face of the indictment with the
guidelines.” United States v. Lewis, 161 F. App’x 322, 324 (4th Cir. 2006).

16. When reviewing the superseding indictment, it is apparent that
the 18 U.S.C. § 1752 charges make no mention of obstructing or impeding
officers. Count three, relating to “Entering and Remaining in a Restricted
Building or Grounds, in violation of Title 18, United States Code

Section 1752(a)(1)” states:

“On or about January 6, 2021, within the District of Columbia,
MICHAEL ECKERMAN and KIRSTYN NIEMELA did unlawfully
and knowingly enter and remain in a restricted building and grounds,
that is, any posted, cordoned-off, and otherwise restricted area within
the United States Capitol and its grounds, where the Vice President

was and would be temporarily visiting, without lawful authority to do
so.” ECF No. 24 at page 2 (emphasis in original).

17. Count four, alleging “Disorderly and Disruptive Conduct in a
Restricted Building or Grounds, in violation of Title 18, United States Code,

Section 1752(a)(2)” states:

“On or about January 6, 2021, within the District of Columbia,
MICHAEL ECKERMAN and KIRSTYN NIEMELA did knowingly,
and with intent to impede and disrupt the orderly conduct of
Government business and official functions, engage in disorderly and
disruptive conduct in and within such proximity to, a restricted building
and grounds, that is, any posted, cordoned-off, and otherwise restricted
area within the United States Capitol and its grounds, where the Vice
President was and would be temporarily visiting, when and so that such
conduct did in fact impede and disrupt the orderly conduct of

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Government business and official functions.” ECF No. 24 at page 3

(emphasis in original).

18. Missing from both of those counts is any allegation or even
passing reference of my conduct obstructing or impeding officers. However,
those counts reference my presence in a “restricted building and grounds”,
the same language seen in USSG § 2B2.3, which relates to a trespass
occurring “at any restricted building or grounds.” And, importantly, neither
18 U.S.C. § 1752(a)(1) nor 18 U.S.C. § 1752(a)(2) reference obstructing or
impeding officers.

19. From a review of the record, it appears that USSG § 2A2.4 was
selected not based on the “conduct charged in the count of which the
defendant was convicted” but instead based on conduct not alleged in the
indictment: the video evidence referenced at the June 8, 2023 sentencing
hearing and the trial evidence referenced in the Court’s July 7, 2023
memorandum opinion and order. See supra {{ 9, 12. That led to a mistaken
selection of USSG § 2A2.4 where USSG § 2B2.3 was appropriate considering
counts three and four in the superseding indictment. See Almeida, 710 F.3d
at 442 (““Consequently, we think it clear that the district court erred by
selecting the guideline applicable to Almeida’s crime on the basis of conduct
not alleged in the indictment.”).

20. Had USSG § 2B2.3 been selected, as required, a base offense

level of six would have resulted in a sentencing range of 0-6 months. T am

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ordered to turn myself in to serve 11-months of incarceration on July 25,
2023. A stay of sentence is necessary to remedy the incorrect selection of
guidelines, to ensure that I do not serve a sentence which is wrong as a
matter of law, and for the Court to decide on a proper and just sentence for
me.
B. Ineffective Assistance of Counsel

21.  Insupport of this motion, I further state that sentencing
counsel, Mr. Pierce and Mr. Roots, provided ineffective assistance of counsel
which significantly prejudiced me. I raised the claim of ineffective counsel to
the trial Court, and was denied an evidentiary hearing and any other
meaningful opportunity to validate my claim.

22. To succeed on a claim asserting ineffective assistance of counsel,
“the defendant must show that (1) his counsel’s performance ‘fell below an
objective standard of reasonableness,’ and (2) ‘there is a reasonable
probability that, but for counsel’s unprofessional errors, the result of the
proceeding would have been different.” Payne v. Stansberry, 760 F.3d 10, 13
(D.C. Cir. 2014) (quoting Strickland v. Washington, 466 U.S. 668, 687-88
(1984)). “Counsel’s performance is deficient when his representation falls
below an objective standard of reasonableness.” United States v. Abney, 812
F.3d 1079, 1086 (D.C. Cir. 2016) (quotation omitted). “The prejudice prong
requires a showing of a ‘reasonable probability that, but for counsel’s

unprofessional errors, the result of [his sentencing] would have been

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different.” United States v. Abney, 812 F.3d 1079, 1086 (D.C. Cir. 2016)
(quoting Strickland v. Washington, 466 U.S. 668, 694 (1984).

23. In my case, there is no question that counsel at sentencing fell
below the objective standard of reasonableness. My attorneys at sentencing
failed to recognize, and failed to present to the Court, the above-referenced
requirements when selecting a guideline. My prior counsel failed to
comprehend the difference between a sentencing memorandum and
presentencing report in an email response to probation. They failed to object
to materially harmful errors in the presentence report which recommended
the selection of USSG 2A2.4; moreover, through untimely filings, they waived
objections.'4 As the Court observed: “There were no objections filed to the
draft presentence report. There was no objection, I don’t believe, to the base
offense level in the initial sentencing memo. The morning of sentencing is not
the time to raise objections to offense levels or guidelines calculations, so I
believe you've waived that.”!5

24. When asked about their objections to the “Base Offense Level 10
or any other aspect of the calculation”!® notwithstanding that waiver, my
counsel failed to mention the requirements for selecting the appropriate

guideline, instead somehow alleging that ten points “is a felony baseline.” !7

14 Sentencing Hearing Transcript, June 8, 2023, page 15 at 19-20.
15 Id. at page 15 at 19-24.
16 Id. at page 16 at 19-20.

' Td. at page 16 at 13.

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Time and time again, my sentencing counsel proved wholly uninformed about
the guidelines. They mistakenly believed that “[flor Class A misdemeanors,
the U.S. Sentencing Guidelines . . . is six points.”!7 They wrongly argued “the
Court’s sentencing decision and evaluation is not governed by the US
Sentencing Guidelines.” ECF No. 121 at p. 11. They erroneously asserted —
twice — that USSG § 2A2.4 applied to felony assaults; an argument rejected
twice by this Court. ECF No. 155 at p. 5

25. But for their unprofessional errors, the result of sentencing
would have been dramatically different for me. The correct guideline would
have been applied and I would be facing zero to six months in prison. Instead,
due to their failures and through no fault of my own, I am facing 11 months.
Justice requires this wrong to be remedied.

Requested Relief

26. For the reasons set forth in my motion, I, Kirstyn-Ashley
Niemela, ask this Honorable Court to issue an emergency order to stay the
trial Court’s sentencing order, pending results of appeal for denial of my right
to effective counsel. Alternatively, I request a stay to allow time for briefings,
and a new and proper sentence to be issued according to guidelines. I further
request all other relief, in law and in equity, that the Court deems just and
proper.

Respectfully,

17 Id. at page 16 at 23-25.

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I affirm under penalty of perjury under the laws of the United States of

America that facts stated are true and correct. Executed this 24th day of July
2023

Kirstyn-Ashley Niemela

Certificate of Service

I certify that on this 24th day of July, 2023, a copy of the foregoing Emergency
Motion to Stay, including my sworn statement of facts, was delivered electronically
to the following

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